Case 1:96-cr-00379-SH Document 27 Entered on FLSD Docket 07/23/1996 Page 1 of 1

CRIMINAL MINUTES FILED by D.C.

——
a

UNITED STATES DISTRICT COURT JUL 17 1996
SOUTHERN DISTRICT OF FLORIDA

AR:
CLERK uv S.

 

HONORABLE SHELBY HIGHSMITH, PRESIDING

 

Case No

Clerk Vi
USPO Mo. ' In reter

UNITED STATES OF AMERICA v

AUSA (Lhe o

Defendant(s): Prese

 

 

    
  
 

 

 

 

Reason for Hearing:

 

 

VF

ju—

 

 

 

 

 

 

ae of Hearing: dh

A/G ;
Case Continued to: / 7 Time
Misc.:

 

 

 

 

 

 

 
